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                             Exhibit A
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Civil Court of the City of New York                                             Index Number: CV008313-25/KI
, County of Kings

 Anthony Clarke                                                                          SUMMONS WITH ENDORSED
                    Plaintiff(s)                                                                     COMPLAINT
     -against-                                                                       BASIS OF VENUE; Plaintiffs residence
Equifax Information Services, LLC
                  een ants                                                                 PlaintifPs Residence Address (s) :
                                                                                                    Anthony Clarke
                                                                                                    27 Irving Place
                                                                                                          3A
                                                                                                  Brooklyn, NY 11238

 To the named defendant (s)
 Equifax Information Services, LLC (Defendant), at c/o Corporation Service Company, 80 State
                                                                                             Street, Albany,
 NY 12207

YOU ARE HEREBY SUMMONED to appear in the Civil Court of the City of New York, County of Kings
                                                                                                         at the office of the Clerk of
the said Court at 141 Livingston Street in the County of Kings, City and State of New York, within the
                                                                                                       time provided by law as
noted below and to file your answer to the (endorsed summons) (annexed complaint) * with the Clerk; upon your
                                                                                                               failure to answer,
judgment will be taken against you for the total sum of $2,500:00 and interest as detailed below.
Plaintiffs work sheet may be attached for additional information . if deemed necessary by the clerk.
                                                                                                           •

Date:April 7, 2025
                                                                       Tanya Faye, Chief Clerk


                                                  ENDORSED COMPLAINT
 The nature and the substance of the plaintiffs cause of action is as follows: Other for $2,500.00 with interest from
 01/28/2024
$2500.00 - Equiax failed to correct inaccurate credit.reporting despite disputes, violating NY GBS § 380-f, § 380-j(a)(3)
                                                                                                                          ,
and § 15'U.S.C. 1681i(a). Hurting my credit

                                                       *NOTE TO THE DEFENDANT
         A)If the summons is served by its delivery to you personally within the Ciry of New York, you must appear and answer within
TWENTY days after such service; or
         B)If the summons is served by delivery to any person other than you personally, or is served outside the City ofNew York, or by
publication, or by any means other than pers.onal delivery to you within the City ofNew York, you are allowed THIRTY days after the
proof ofservice thereof isfiled with the Clerk ofthis Court within which to appear and answer.
         C)Following CPLR 321(a) corporations must be represented by an attorney.
                                                  * NOTE TO THE SERVER OF THE SUMMONS
The person who serves the summons should complete the Affidavit of Service and shall file it in the Clerk's Office in the county where
the action is brought.


PLAINTIFF'S CERTIFICATION                           SIGN NAME:
(See 22NYCRR, Section 130-1.1a)                     PRINTNAME:                             Anthony Clarke


For Information, answer forms and to track court dates, go to WWW.NYCOURTS.GOV/NYCCIVIL
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 Civil Cou.rt of the City of New York                                              Index Number: CV-008313-25/K.I
 County of N;ings

  Anthony Clarke
                                                                                             SUMMONS WITH ENDORSED
                      Plaintiff(s)                                                                  COMPLAINT
      -against-                                                                       BASIS OF VENUE: Plaantiffs residence
.Equifax In~ormation Services, LLC
                Defendant(s)                                                                Plaintiffs Residence Address (s) :
                                                                                                     Anthony Clarke
                                                                                                    27 Irving Place
                                                                                                          3A
                                                                                                  Broo[dyn, NY 11238
 To the named defendant (s)-
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                                                                                   y, 80 State Street, Albany,
  NY 12207

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(See 22NY.CRR, Section 130-1.1a)                      PRINTNAME:                            Anthony Clarke


For Information, answer forms and to track court dates, go to WWNYCOURTS. GOVINYCCIVIL
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